Case 2:22-cv-00905-JS Document 2 Filed 03/09/22 Page 1 of 30

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

 

 

SPECTOR GADON ROSEN VINCI P.C. : — Civil Action No.
1635 Market Street, 7 Floor :
Philadelphia, PA 19103, : Jury Trial Demanded
Plaintiff,
Vv.

LOUIE AQUILINO & ROBIN AQUILINO :
2306 Doral Drive, Blackwood, NJ :
08012

Defendants.

 

COMPLAINT
Plaintiff, Spector Gadon Rosen Vinci, P.C. (“SGRV” or “Plaintiff’),
complains against Defendants, Louie Aquilino and Robin Aquilino (“Defendants”
or the “Aquilinos”), as follows:

1. This an action to collect unpaid legal fees and costs SGRV incurred
in performing legal services on behalf of Defendants.

2. As of the filing of this Complaint, Defendants have an outstanding
balance of approximately $229,000 in attorney fees and costs (“SGRV Fees”) in
connection with the preparation, filing, and representation of the Aquilinos in
their Chapter 7 bankruptcy filed in the United States Bankruptcy Court, District

of New Jersey, No. 21-01406-JNP and various related adversary proceedings.
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3. Despite numerous demands for payment of the SGRV Fees and
continued promises to pay substantial portions of same as stated herein,
Defendants have failed to do so.

PARTIES

4. SGRV is a Pennsylvania professional corporation organized for the

 

practice of law with its principal place of business at 1635 Market Street, 7%
Floor, Philadelphia, PA 19103.

5. Upon information and belief, Defendant Louie Aquilino is an adult
person currently residing at 2306 Doral Dr., Blackwood, NJ 08012.

6. Upon information and belief, Defendant Robin Aquilino is an adult
person currently residing at 2306 Doral Dr., Blackwood, NJ 08012.

JURISDICTION AND VENUE

7. This Court has jurisdiction over this action under 28 U.S.C. § 1332
because it is between citizens of different states and the amount in controversy,
exclusive of interest and costs, is in excess of $75,000.

8. Venue is proper in this district under 28 U.S.C. § 1391(b) because
the district is where the transactions and occurrences out of which the causes
of action arose took place, including the formation of the agreement between
the parties and the performance of the legal services at issue.

STATEMENT OF FACTS
9. In or around March 2020, SGRV was engaged by Defendants to

represent them in connection with their personal Chapter 7 Bankruptcy.
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10. Throughout their representation of Defendants, SGRV performed
services including, but not limited to, the following: preparing the bankruptcy
petition and all other required legal documents; reviewing relevant financial
documents; making necessary court appearances; and communicating with the

Court, Chapter 7 trustee, US Trustee, creditors, and. counsel for all parties, and

 

representing them in related adversary proceedings.

11. SGRV billed Defendants on an hourly basis for the legal services it
performed.

12. The basis for SGRV’s hourly rates was set forth in its invoices, which
were sent to Defendants on a monthly basis.!

13. Throughout Defendants’ representation, Defendants never
protested to or objected to SGRV’s invoices or the accuracy of any of the time
entries or work descriptions contained therein. In fact, they constantly praised
and showed appreciation to SGRV lead bankruptcy counsel, Leslie Beth Baskin,
Esquire, during the entire course of the representation until the time
surrounding the probable sale of Defendants’ residence, in November 2021.

14. As of August 2021, Defendants had an outstanding balance of
$151,507.19 in attorney fees and litigation costs.

15. To aid in payment of the outstanding balance, the parties entered
into a letter agreement on August 23, 20212 (the “Letter Agreement”), in which

SGRV agreed to reduce the then-outstanding balance of attorney fees of

 

! True and correct copies of the relevant invoices sent to Defendants are attached hereto as Exhibit “A.”
2 A true and correct copy of the August 23, 2021 letter agreement is attached hereto as Exhibit “B.”

3
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approximately $151,000.00 to $113,000.00 and Defendants agreed to pay
SGRV the sum of $100,000 at closing of their residence located at 2 Lamson
Lane, Sewell, NJ (“Residence”), which closing was then not scheduled.

16. The Letter Agreement further provided that payment of the

additional $13,000.00 balance, along with other accruing costs and fees would

 

 

be paid after payment to SGRV of $100,000.00.

17. Subsequently, SGRV learned that Defendants closed on the sale of
their Residence, but to its dismay SGRV had not been paid the $100,000.00
agreed upon in the Letter Agreement.

18. SGRV has requested from Defendants a copy of the settlement sheet
for the closing of their Residence, but Defendants have refused this request.

19. SGRV believes that the Residence sold for approximately
$745,000.00 which left Defendants with hundreds of thousands of dollars in
net proceeds.

20. SGRV believes that Defendants used some of the net proceeds to
purchase a new residence at 2306 Doral Drive, Blackwood New Jersey 08012,
on November 22, 2021 for $223,000.00 in cash, and also used some of the net
proceeds to repay a debt to Robin Aquilino’s parents.

21. Not only did SGRV not receive any payment of the legal fees and
costs as agreed to by the parties on August 23, 2021, but since the Letter
Agreement, Defendants have accrued an additional $77,835.44 in attorney fees

and costs.
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22. As such, Defendants are liable to SGRV for their total unpaid
balance for legal fees of $229,342.63, plus costs.3
COUNT I - BREACH OF CONTRACT
23. SGRV incorporates the preceding paragraphs of this Complaint as

though fully set forth herein.

 

24. SGRV and Defendants entered into an agreement for the provision
of legal services in connection with Defendants’ personal Chapter 7 bankruptcy
in exchange for payment.

25. SGRV performed services for Defendants pursuant to the
agreement.

26. By August 2021, Defendants had accrued a balance of $151,507.19
in attorney fees and litigation costs yet could not make payment. Since that date
there has been an additional $77,835.44 in attorneys’ fees and costs.

27. As a result of Defendants’ breach of the agreement, SGRV has
suffered damages.

WHEREFORE, SGRV demands judgment of this Court against

Defendants, Louie Aquilino and Robin Aquilino, for $229,342.63 plus its costs,
together with lawful interest, attorney’s fees and costs of suit and such further

relief as this court deems appropriate.

 

3 The figure of $229,342.63 represents the entire uncompensated amount of fees due and
owing before the Letter Agreement plus additional legal fees and costs that have accrued since
then.
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COUNT II - UNJUST ENRICHMENT
28. SGRV incorporates the preceding paragraphs of this Complaint as

though fully set forth herein.

29. SGRV conferred a valuable benefit upon Defendants by performing

legal services for them.

 

30. Defendants accepted, used, and enjoyed the benefits of the legal
services that SGRV performed on their behalf.

31. It is inequitable for Defendants to retain those benefits without
compensating SGRV.

32. SGRV expended time and labor performing legal services for
Defendants, which Defendants used, accepted, and enjoyed as a result of
SGRV’s efforts.

33. As set forth herein, SGRV reasonably expected to be paid for
performing legal services for Defendants.

34. Because of the relationship between the parties, SGRV is entitled to
receive the reasonable value of the services it performed for Defendants, which
is greater than $229,342.63, plus costs.

WHEREFORE, SGRV respectfully requests the Court to enter a judgment

in favor of SGRV and against Defendants in the amount of $229,342.63, plus
costs, including pre- and post-judgment interests and such further relief as is

just and equitable.
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COUNT III - ACCOUNT STATED
35. SGRV incorporates the preceding paragraphs of this Complaint as
though fully set forth herein.
36. SGRV sent Defendants monthly invoices detailing the services

provided in the underlying matter and the amounts due as a result.

 

37. Defendants never protested or objected to the accuracy of the
invoices.
38. Asaresult of the foregoing, an account stated has been established
between SGRV and Defendants in the amount of $229,342.63 plus costs.
WHEREFORE, SGRV respectfully requests the Court to enter a judgment
in favor of SGRV and against Defendants in the amount of $229,342.63, plus
costs, including pre- and post-judgment interests and such further relief as is
just and equitable.
Respectfully submitted,

SPECTOR GADON ROSEN VINCI, P.C.

By: lal Adlon filled

Adam A. Filbert, Esquire
Attorney for Plaintiff

Date: March 9, 2022
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EXHIBIT A
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, Louie Aquilino and Robin Aquilino Invoice Daie:
2 Lamson Lane Invoice Number:
Sewell, NJ 08080 Matter Number:

June 12, 2020
160297
061474-0002

 

For Professional Services Through May 15, 2020

Client: Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $
Total Costs $
Total Due This Invoice $

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888

10,825.00
0.00
10,825.00
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Louie Aquilino and Robin Aquilino Invoice Date:
2 Lamson Lane Invoice Number:

Sewell, NJ 08080 Matter Number:

June'29, 2020
160611
061474-0002

 

For Professional Services Through June 15, 2020

Client: . Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $
Total Costs $
Total Due This Invoice $
Previous Balance Due $
Amount Due $

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888

18,830.00
0.00
18,830.00

10,825.00
29,655.00
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peonenena Louie-Aquilino-and- Robin Aquilino = Invoice Dates July-29, 2020
2 Lamson Lane Invoice Number: 161136
Sewell, NJ 08080 Matter Number: 061474-0002

 

For Professional Services Through July 15, 2020

Client: : _ Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $ 39,532.50
Total Costs $ 279.70
Total Due This Invoice $ 39,812.20
Previous Balance Due $ 29,655.00
Amount Due $ 69,467.20

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888
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ton, Louie Aquilino and Robin Aquilino________Invoice Date; August-28, 2020
2 Lamson Lane Invoice Number: 161467
Sewell, NJ 08080 Matter Number: 061474-0002

 

For Professional Services Through August 15, 2020

Client: Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $ 10,990.00
Total Costs $ 247.44
Total Due This Invoice $ 11,237.44
Previous Balance Due $ 64,467.20
Amount Due $ 75,704.64

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888
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SPECTOR

  

 

 

a Louie Aquilino-and_Robin Aquilino_— Invoice: Date: September 30,2020.
2 Lamson Lane Invoice Number: 161979
Sewell, NJ 08080 Matter Number: 061474-0002
For Professional Services Through September 15, 2020
Client: Louie Aquilino and Robin Aquilino
Matter: Louie and Robin Aquilino Personal Chapter 7

Total Fees $ 3,080.00
Total Costs $ 17.57
Total Due This Invoice $ 3,097.57
Previous Balance Due $ 75,704.64
Amount Due $ 78,802.21

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888
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Louie Aquilino and Robin Aquilina Invoice Date: = October 30,2020 2
2 Lamson Lane Invoice Number: 162700
Sewell, NJ 08080 Matter Number: 061474-0002

 

For Professional Services Through October 15, 2020

Client: Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $ 1,977.50
Total Costs $ 307.40
Total Due This Invoice $ 2,284.90
Previous Balance Due $ 78,802.21
Amount Due $ 81,087.11

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888
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a . Louie Aquilino and Robin-Aquiling Invoice Date: November 25,2020.
2 Lamson Lane Invoice Number: 163217
Sewell, NJ 08080 Matter Number: 061474-0002

 

For Professional Services Through November 15, 2020

Client: Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $ 1,715.00
Total Costs $ 0.00
Total Due This Invoice $ 1,715.00
Previous Balance Due $ 81,087.11
Amount Due $ 82,802.11

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888
Case 2:22-cv-00905-JS Document 2 Filed 03/09/22 Page 16 of 30

 

 

 

- Louie.Aquilino and.Robin Aguilino. Invoice Date: December 28,2020
2 Lamson Lane Invoice Number: 163758
Sewell, NJ 08080 Matter Number: 061474-0002

 

For Professional Services Through December 15, 2020

Client: , Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $ 3,482.50
Total Costs $ 0.00
Total Due This Invoice $ 3,482.50
Previous Balance Due $ 82,802.11
Amount Due $ 86,284.61

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888
Case 2:22-cv-00905-JS Document 2 Filed 03/09/22 Page 17 of 30

 

co Louie Aquilino and-Robin Aquilino..00 2 Invoice Dates, January.27,2024 00
2 Lamson Lane Invoice Number: 164290
Sewell, NJ 08080 Matter Number: 061474-0002

 

For Professional Services Through January 15, 2021

Client: Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $ 5,775.00
Total Costs $ 0.00
Total Due This Invoice $ 5,775.00
Previous Balance Due $ 86,284.61
Amount Due $ 92,059.61

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888
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_ Louie Aguilino and:Robin Aquilino Invoice: Date: March 29, 2021
2 Lamson Lane Invoice Number: 165383
Sewell, NJ 08080 Matter Number: 061474-0002

 

For Professional Services Through March 15, 2021

Client: Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $
Total Costs $
Total Due This Invoice $
Previous Balance Due $
Amount Due $

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888

31,221.50
4.30
31,225.80

87,059.61
118,285.41
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eee Louie Aquilino and Robin Aquilina "Invoice Dates
2 Lamson Lane Invoice Number:
Sewell, NJ 08080 Matter Number:

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166164
061474-0002

 

For Professional Services Through April 15, 2021

Client: Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $
Total Costs §
Total Due This Invoice $
Previous Balance Due $
Amount Due $

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888

6,440.00
115.28
6,555.28

118,285.41
124,840.69
Case 2:22-cv-00905-JS Document 2 Filed 03/09/22

 

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Louie Aquilino:and:Robin:Aquilino Invoice Date: May. 28, 2021
2 Lamson Lane Invoice Number: 166626
Sewell, NJ 08080 Matter Number: 061474-0002

 

For Professional Services Through May 15, 2021

Client: Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $
Total Costs $
Total Due This Invoice $
Previous Balance Due $
Amount Due $

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888

3,395.00
224.00
3,619.00

124,840.69
128,459.69
Case 2:22-cv-00905-JS Document 2 Filed 03/09/22

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~Louie Aquilino-and-Robin Aquilina invoice Dates
2 Lamson Lane Invoice Number:
Sewell, NJ 08080 Matter Number:

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167131
061474-0002

 

For Professional Services Through June 15, 2021

Client: Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $ 11,970.00
Total Costs $ 0.00
Total Due This Invoice $ 11,970.00
Previous Balance Due $ 128,459.69
Amount Due $ 140,429.69

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888
Case 2:22-cv-00905-JS Document 2 Filed 03/09/22

 

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; Louie Aquilino and Robin Aguilino Invoice:-Date: July 29; 2021
2 Lamson Lane Invoice Number: 167721
Sewell, NJ 08080 Matter Number: 061474-0002

 

For Professional Services Through July 15, 2021

Client: . Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $
Total Costs $
Total Due This Invoice $
Previous Balance Due $
Amount Due $

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888

11,077.50
0.00
11,077.50

140,429.69
151,507.19
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Louie Aquilino- and Robin Aquilina Invoice Date September 30; 2021
2 Lamson Lane Invoice Number: 168765
Sewell, NJ 08080 Matter Number: 061474-0002

 

For Professional Services Through September 15, 2021

Client: Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $
Total Costs $
Total Due This Invoice $
Previous Balance Due $
Amount Due $

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888

23,247.50
250.02
23,497.52

151,507.19
175,004.71
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ee Loule Aquilino-and Robin Aquilino= invoice Dates
2 Lamson Lane Invoice Number:
Sewell, NJ 08080 Matter Number:

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ae October 29; 2021

169645
061474-0002

 

For Professional Services Through October 15, 2021

Client: . Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $
Total Costs $
Total Due This Invoice $
Previous Balance Due $
Amount Due $

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888

17,482.50
3.80
17,486.30

175,004.71
192,491.01
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oes Loule Aquilino and Robin Aquilino "Invoice Date: November 29,2021
2 Lamson Lane Invoice Number: 170114
Sewell, NJ 08080 Matter Number: 061474-0002

 

For Professional Services Through November 15, 2021

Client: Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $
Total Costs $
Total Due This Invoice $
Previous Balance Due $
Amount Due $

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888

13,515.00
50.00
13,565.00

192,491.01
206,056.01
Case 2:22-cv-00905-JS Document 2 Filed 03/09/22

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: Louie Aquilino and Robin Aquilino Invoice Date: December. 30,2021
2 Lamson Lane Invoice Number: 170667
Sewell, NJ 08080 Matter Number: 061474-0002

 

For Professional Services Through December 15, 2021

Client: . Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $
Total Costs $
Total Due This Invoice $
Previous Balance Due $
Amount Due $

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888

11,785.00
21.98
11,806.98

206,056.01
217,862.99
Case 2:22-cv-00905-JS Document 2 Filed 03/09/22

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2 Lamson Lane Invoice Number:
Sewell, NJ 08080 Matter Number:

171333
061474-0002

 

For Professional Services Through January 15, 2022

Client: Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $
Total Costs $
Total Due This Invoice $
Previous Balance Due $
Amount Due $

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888

6,732.50
32.14
6,764.64

217,862.99
224,627.63
Case 2:22-cv-00905-JS Document 2 Filed 03/09/22

 

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wo ,Louie-Aquilino.and.Robin Aquilino Invoice Date: February 25, 2022
2 Lamson Lane Invoice Number: 171796
Sewell, NJ 08080 Matter Number: 061474-0002

 

For Professional Services Through February 15, 2022

Client: Louie Aquilino and Robin Aquilino

Matter: Louie and Robin Aquilino Personal Chapter 7
Total Fees $ 4,715.00
Total Costs $ 0.00
Total Due This Invoice $ 4,715.00
Previous Balance Due $ 224,627.63
Amount Due $ 229,342.63

Please Remit to:
Mail To:
SPECTOR GADON ROSEN VINCI P.C.
1635 Market Street, 7th Floor
Philadelphia, PA 19103
215-241-8888
Case 2:22-cv-00905-JS Document 2 Filed 03/09/22 Page 29 of 30

 

 

EXHIBIT B
Case 2:22-cv-00905-JS Document 2 Filed 03/09/22 Page 30 of 30

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Rlomeys at lw

sgrvian.com

Lesile Beth Baskin

August 23, 3021

Via email (louie. starsandstrines@emuil.com) and First-Class Mail
Louie and Robin Aquilino
2 Lamson Lane

 

 

 

Pennsylvania, New York

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SEES poeta canbe Sewell, NF-08080
Direct Fax Number
Ibecknavanne RE: Louie and Robin Aquilino
Our File # 061474-0002
Seven Penn Center
1635 Markel Street . .
7th floor Dear Louie and Robin,
Phitadaiphia, PA 19103
P 215.241.8888
F 215.241.8844 This letter will serve as a follow-up to my firm’s recent telephone calls
Admited to practice: with you regarding payment of your outstanding legal fees and costs in yo

personal Chapter 7 bankruptcy. As of the beginning of August 2021, the |
which are outstanding are approximately $151,000 (“Fees”) and Costs are
approximately $1200.00 (“Costs”). George Vinci has advised that y
agreed to pay the Fees and Costs as follows: The Fees shall be redu
the amount of $113,000 (* Reduced Fees”), The sum of $100,000 sh
the closing for your residence located at 2 Lamson Lane, Sewell
payment of the additional $13,000 from the Reduced Fees, the (
additional fees and costs will continue to accrue and a new fee ai
these sums will be made once we are paid at closing. If this comport
understanding of our arrangement, kindly sign where indicated bel
you.

Very truly yours,
fs/ Leslie Beth Baskin

LESLIE BETH BASKIN-

SO AGREED:

Louig AqQilino
“Rb Age

Robin Aquilino™

LBB/tb
ce: George Vinci, Esquire

PHILAGELPHIA NEW JERSEY FLORIDA
